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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :
               v.                              :       Case No. 21-cr-53 (CJN)
                                               :
EDWARD JACOB LANG                              :
                                               :
                       Defendant.              :

                                     PROPOSED VOIR DIRE

       The parties respectfully submit the following proposed voir dire questions, first from the

United States and then from the defense. Text in bold, other than the reference to the anticipated

length of the trial, reflects a defense objection to the government’s proposal. Text in italics reflects

a government objection to a defense proposal.

Respectfully submitted,

FOR THE UNITED STATES:                                         FOR THE DEFENSE:

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       United States Attorney
       D.C. Bar No. 481052
By:

          s/                                               s/
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   The government proposes the following voir dire questions:

1. The United States is represented in this case by Assistant United States Attorneys Karen Rochlin
   and Craig Estes, with assistance from paralegal Derra McQuaig, and Federal Bureau of
   Investigation (FBI) Special Agents LaNard Taylor and John (“Jack”) King. Each works for a
   component of the U.S. Department of Justice (DOJ), such as a United States Attorney’s Office or
   the FBI. Could you each PLEASE STAND. Do you know or have you had any contact with these
   individuals? Do know or have you had contact with their colleagues from the DOJ, United States
   Attorney’s Office, or the FBI?

2. The defendant at trial is Edward Jacob Lang. PLEASE STAND. Do you know or have you had
   any contact with Edward Jacob Lang?

3. Edward Jacob Lang is represented in this case by Steven A. Metcalf II, from the firm of Metcalf
   & Metcalf P.C., and Anthony Sabatini, from the Sabatini Law Firm, LLC. PLEASE STAND. Do
   you know or have you had any contact with these individuals, or any of their colleagues from their
   respective firms?

4. During the course of the trial, you may hear testimony from or about a number of people. The
   attorneys will now identify for you the names of people who may testify or about whom you may
   hear testimony. Listen carefully to see if you recognize or know any of the people named. The
   Government’s counsel may go first, and then the defendant may list any additional names. [Do
   you recognize any of the names?] [If you recognize any name, please mark that on the sheet
   provided at ___]

5. Please look around you. Do you know or recognize any other member of the prospective jury
   panel, the courtroom staff, or me?

6. The lawyers have predicted that the presentation of evidence in this trial should last about two
   weeks, but the trial could shorter or longer. The jury will sit Monday through Friday, generally
   from 9:00 a.m. to 5 p.m., although the starting and ending times may vary. The length of jury
   deliberations following the presentation of evidence at trial will be determined by the jury itself.
   Do you have an urgent or extremely important matter to attend to this week and next, such that
   you could be faced with a hardship if selected to serve on the jury in this case?

7. Do you have any vision, language, or hearing problems, or any other physical or medical problems,
   that might interfere with your ability to hear or understand what the witnesses say in this case, to
   view exhibits and photographs, or to give your full attention to this case? Do any of you have
   difficulty understanding, speaking, reading or writing English?

8. Do you have any personal beliefs, such as moral, religious, or ethical beliefs, that prevent you from
   sitting in judgment of another person?

   Government’s Response: The defense has suggested substituting the language in bold with the
   words “of the government’s case.” The United States submits that the reference to judging another
   person is neutral and has been used in other criminal cases in this district, including cases arising


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    from the events of January 6, 2021. Moreover, the issue the United States seeks to identify
    concerns specific beliefs against judging another person as opposed to judging other things or
    abstractions. Compare DeVorce v. Philips, No. 04-CV-6155 KMK MDF, 2013 WL 4406008, at
    *15 (S.D.N.Y. Aug. 7, 2013), aff'd, 603 F. App'x 45 (2d Cir. 2015), a collateral attack against
    convictions for assault, weapons possession, and robbery, where the defendant challenged striking
    a prospective juror because she had expressed discomfort “sitting in judgment of another person”
    and explained that although she could consider evidence and act on it, she did not consider it her
    prerogative to judge. The district court found that these responses were an appropriate basis for
    exercise of a peremptory strike. Id. The defense’s proposed revision does not address the specific
    belief the United States seeks to uncover. Ultimately, the jury will determine the guilt or innocence
    of the defendant. The United States therefore asks this Court to overrule the objection to question
    8.

9. Have you, any member of your family, or close friend ever studied law or been employed by a
   lawyer or a law firm, worked in a courthouse, worked as a paralegal or a legal secretary, or
   performed legal investigative work?

10. Have you, any member of your family, or close friend ever been employed by any local, state, or
    federal law enforcement agency or a private security company? Law enforcement agencies
    include, for example, the Metropolitan Police Department, the United States Capitol Police, the
    United States Secret Service, or the Federal Bureau of Investigation (FBI).

11. Have you, any member of your family, or close friend had any experiences with any law
    enforcement agency, the government, or a private security company that might cause you to favor
    or disfavor the government or law enforcement or the defense?

12. Have you, any member of your family, or close friend ever worked in any other part of the criminal
    justice system, such as a Public Defender’s Office, a firm or with an attorney practicing criminal
    defense, a private investigator’s office, a probation office or a correctional facility?

13. Have you, any member of your family, or close friend had any experiences with any part of the
    criminal justice system that might cause you to favor or disfavor either party in this case?

14. If you ever served before as a juror in a civil or criminal trial, or on a grand jury, was there anything
    about your service that might affect your ability to serve fairly and impartially as a juror at this
    trial?

15. If you ever served before as a juror in a civil or criminal trial where the jury began deliberations,
    was that jury able to reach a verdict?

16. Have you ever filed a complaint against a police officer or anyone in law enforcement? Have you
    ever filed a complaint against an attorney or a private investigator?

17. Have you, any member of your family, or close friend ever been the subject of a criminal
    investigation, been accused of criminal conduct, been arrested or convicted of a crime, been a



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   victim of a crime, been a witness to a crime, testified in court or before a grand jury as a witness
   to a crime, or been required to appear in court for any reason? Is there anything about that
   experience which would make you favor or disfavor either party in this case?

18. Do you have any opinions about prosecutors or defense attorneys that might affect your ability to
    serve fairly and impartially in this trial?

19. Do you, any member of your family, or any close friend belong to a group or organization that is
    active in law enforcement or crime victim prevention matters? Some examples of such
    organizations include the Fraternal Order of Police, Crime Watch, Crime Stoppers, Orange Hats,
    or other organizations, including any groups on the Internet, which monitor or discuss
    neighborhood crime issues.

20. Do you believe that merely because a defendant has been arrested and charged with a crime that
    he is guilty of something?

21. In this case, law enforcement officers will be witnesses. Would you tend to believe or not believe
    the testimony of a law enforcement officer simply because he or she is a law enforcement officer?
    In other words, would you tend to give more or lesser weight to the testimony of a law enforcement
    officer than to the testimony of other witnesses?

22. The prosecution has the burden of proof. This means that the jury cannot return a guilty verdict
    against a defendant unless the prosecution has proven beyond a reasonable doubt that the defendant
    is guilty of the crime charged. Would you have any difficulty accepting and applying this legal
    instruction?

23. The defendant in this case, just as every defendant in a criminal trial, is presumed innocent and,
    therefore, has no obligation to testify or present any evidence in the case. Would you have any
    difficulty accepting and applying this legal instruction?

24. To reach a verdict on a particular charge, every juror must agree on the verdict. That is, any verdict
    must be unanimous. In deliberations you must consider the opinions and points of your fellow
    jurors, but you must also follow your own conscience and be personally satisfied with any verdict.
    Would you have difficulty expressing your own opinions and thoughts about this case to your
    fellow jurors?

25. This case involves evidence recovered during the execution of a court-approved search warrant.
    Do you have such strong feelings about the execution of court-approved search warrants that
    would make it difficult for you to be fair and judge this case on the evidence presented in court?
    We object to this paragraph. introducing the concept of “court approval” of a warrant is
    close to vouching for parts of the government’s proof.

   Government’s Response: The wording of this question is standard and is similar to language used
   in various contexts. E.g., Eleventh Circuit Pattern Jury Instruction No. S1.2 (March, 2022)
   (concerning the credibility of a witness with a plea bargain and noting that “Plea bargaining is
   lawful and proper, and the rules of this court expressly provide for it”). The search warrants
   executed in this case were in fact court-approved and the defense has never moved to suppress
   evidence obtained from any warrant. The purpose of the question is to detect bias arising from the


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   use of a law enforcement technique employed in this case even in spite of its propriety. The
   disputed language addresses the means to secure evidence rather than the evidence itself. The
   United States therefore asks this Court to overrule the objection.

26. Do you know of any reason, or has anything occurred to you during this questioning, that might
    in any way prevent you from following my instructions on the law and being completely fair and
    impartial as a juror in this case?

                                   January 6, 2021- Specific Questions

27. During the course of this trial, you will hear about the events at the United States Capitol on
    January 6, 2021. Do you, any member of your family, or close friends live, work near, or have
    any special familiarity with the United States Capitol or its grounds?

28. Have you watched video of what happened at the U.S. Capitol on January 6, 2021, on the news
    or on the Internet?

               a. Approximately how many times have you seen video or news programs depicting
                  these events?

               b. From what source—that is, what news or other program, website, or social media
                  platform—did you view those videos?

29. Have you learned about the events on January 6, 2021 at the U.S. Capitol from other sources, such
    as podcasts, books, or other or written publications? If so, which ones, and how often do you
    review them?

30. Do you or someone you know have any direct or indirect connection to events at the U.S. Capitol
    on January 6, 2021?

31. Have you been following the investigation of the events of January 6, 2021, at the United States
    Capitol in the news media or on the internet?

32. Apart from what you may have learned generally about the events of January 6, 2021, and having
    now heard a brief description of this case, do you have any reason to believe that you have already
    learned about this specific case or this specific defendant from any source?

33. No matter what you have heard or seen about events at the U.S. Capitol on January 6, 2021, and
    no matter what opinions you may have formed, can you put all of that aside and decide this case
    only on the evidence you receive in court, follow the law, and decide the case in a fair and impartial
    manner?

34. Do any of you have such strong personal feelings or opinions about the outcome of the 2020
    presidential election that this would affect your ability to be fair and impartial in this case? Would
    such opinions or feelings prevent you, or make it difficult for you, to follow the Court’s instructions
    on the law?




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35. Jurors are the sole judges of the facts, but they must follow the Court’s instructions on the law.
    The jury may not choose to follow some instructions but not others, and even if a juror dislikes,
    disagrees, with, or does not understand the reasons for some of the rules, it is the jury’s duty to
    follow those instructions. Will any of you have any difficulty following the Court’s legal
    instructions?

36. There have been a number of prosecutions, trials, and verdicts in this District involving those
    accused of crimes involving events on January 6, 2021. Have you read or heard anything about
    other cases? Would what you have heard affect your evaluation of this case? Could you put aside
    anything you have heard and decide this case based solely on the evidence you hear in this
    courtroom?

37. If you are selected as a juror in this case, I will continue to instruct you to avoid all media coverage
    relating to this case, including radio, television, books, podcasts, social media, and other Internet
    sources. That is, you will be forbidden from reading any newspaper articles about this case,
    listening to any radio or podcast stories about this case, or watching any TV news about this case.
    You will also be forbidden from Googling this case, or blogging, Tweeting, reading, or posting
    comments about this case on social media sites or anywhere else on the Internet. Do you have any
    reservations or concerns about your ability or your willingness to follow this instruction?

                                           Background Questions

38. [The following individual questions would be asked separately of each juror.] Please provide the
    following information:

           a.      How long have you lived in the District of Columbia?

           b.      What is your marital status?

           c.      Do you have children or step-children? If so, how many, and what are their ages?

           d.      What is the highest level of school you completed?

           e.      What is your current occupation?

                   i.      How long have you been at this job?

                   ii.     What is your current role at work?

                   iii.    Does your role include supervisory duties?

           f.      If you are married, what is your spouse’s occupation?

           g.      Have you served on a jury before? If so:

                   i.      Was it a criminal or a civil case?

                   ii.     Did you reach a verdict?



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                  iii.    Was there anything about your experience as a juror which would make
                          you not want to serve again?

       h.         Have you been a party to a lawsuit or a witness who testified in court? If so:

                  i.      What was the nature of the lawsuit?

                  ii.     What was your role in the case?

                  iii.    What was the result?

       i.         What social media platforms do you use, how often do you use them, and what do
                  you use them for?

       j.         What source or sources do you rely on to get your news?

       k.         Are there any other reasons that I have not asked about, that might make it
                  difficult for you to sit fairly, impartially, and attentively as a juror in this case?

The defense proposes the following voir dire questions:

I. TO THE PROSPECTIVE JUROR:

       You have been selected to serve as a potential juror for a trial that is scheduled to begin

with jury selection on October 10, 2023 at 9:30 a.m. The trial will concern the events that occurred

at the U.S. Capitol Building on January 6, 2021. You are here today only for one purpose: to fill

out a juror questionnaire. The trial and jury selection process will not start today. Once you have

completed the questionnaire, you are done for the day. You will be given additional instructions

before you leave the courtroom about when to return for jury service for this case.

       The purpose of this questionnaire is to help the Court and the lawyers determine whether

you can serve as a fair and impartial juror. A fair and impartial juror is one who can decide the

case based solely on the evidence presented at trial and the instructions about the law that will be

given by the Court. The information you provide in response to these questions will be given to

the Court and the parties. When you return for the trial itself, you likely will be asked follow-up

questions about your responses. Filling out the questionnaire now will speed up the process of

jury selection.


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       It is important that you understand that the Court is sensitive to your privacy. The

information contained in your answers will be used only by the Court and the parties to select a

fair and impartial jury. No other prospective jurors will hear or see your answers. After a jury

has been selected, all copies of your responses to this questionnaire will be returned to the Clerk

of the Court and kept in confidence. It will only be disclosed, if at all, with names and other

identifying information removed. The parties are under Court order to maintain the confidentiality

of any information they learn in the course of reviewing this questionnaire.

       You are expected to sign the questionnaire with your juror number only. Your answers

will have the effect of a statement under oath.

       Please follow the instructions below when answering the questionnaire:

       1. Please answer each question below as candidly and completely as you reasonably can.

       2. Please keep in mind that there are no “right” or “wrong” answers, only complete and

           truthful answers, or incomplete and untruthful answers.

       3. Please fill out the entire questionnaire.

       4. Please write your juror number in the upper right corner of each page of the

           questionnaire. We ask you to do this in case a page becomes detached from the

           questionnaire, and we need to match it with the other pages.

       5. Do not leave any questions blank. If a question does not apply to you in any way, write

           “N/A,” or “not applicable,” rather than leaving the form blank.

       6. If you cannot answer a question because you do not understand it, write “Do not

           understand” in the space after the question.

       7. If you cannot answer a question because you do not know the answer, write “Do not

           know” in the space after the question.




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       8. Please use, if available, a pen with black or blue ink. If we cannot read an answer, you

           may be required to re-write the answer.

       9. Do not write anything on the back of any page.

       10. After you have completed the questionnaire, please “sign” the final page with your

           juror number and return to a member of the court staff.

       In addition, now that you are a prospective juror, you must follow the instructions listed

below. That means you must follow these instructions between today and when you appear for

jury service in this case. The failure to follow these instructions can jeopardize the jury selection

process and possibly the fairness of the trial.

          Do not read anything whatsoever about the events of January 6th or this case. Please

           avoid any social media accounts that may relate to January 6th or this case.

          Do not read or listen to any media accounts whether in a newspaper, on the internet,

           on television, on the radio, or on any electronic or social media of any kind concerning

           the events of January 6th or this case.

          Do not watch, listen to, or read about any hearing that has already taken place or

           might take place before Congress about the events of January 6th or this case.

          Do not watch, listen to, or read about any reports issued by Congress about the events

           of January 6th or this case.

          Do not watch, listen to, or read any media accounts of any kind concerning an

           individual by the name of “Edward Jacob Lang” or “Jake Lang”.

          Do not discuss your service as a potential juror in this case with anyone, including

           your friends, family members, or employer, except to the extent logistically necessary

           to disclose your service.



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            Do not conduct any research, including on the internet, about this case.

            Do not discuss or post anything about this case on any electronic or social media,

             including Facebook, Twitter, Snapchat, e-mail, text message, any blog, website, or chat

             forum, or any other media of any kind.

            Do not let anyone, including friends, family members, court personnel, parties in this

             case, or persons involved in the case talk to you about your views or any aspect of this

             case except officially in the courtroom.

       Thank you for your cooperation with these instructions and for your careful and honest

responses to the questionnaire. Your forthright and full cooperation is of vital importance to the

administration of justice in this case.

       Government Objection:

       The United States objects to all of Section I because it appears to contemplate the use of a

questionnaire. Defense counsel has not previously discussed use of a jury questionnaire, and what

the defense has proposed does not address how the questionnaire will be provided to prospective

jurors or the circumstances in which the questionnaire would be completed. The United States

respectfully submits that the use of a questionnaire, if any, requires further discussion and review

to the extent this Court has not established its own standardized version of a questionnaire to be

completed in the courthouse under supervision of the Court or its personnel. Otherwise, the United

States objects because the questions proposed in Section I are adequately covered by other

undisputed questions proposed for voir dire.

       II.

1. Did the hundreds of businesses being boarded up in preparation for January 6 effect your

business, regular shopping or dining - of you or ANYONE YOU KNOW?.




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2. For months after boarding up business? The financial heart of Washington DC being a ghost

town, did this impact your shopping, your business, your job?

3. Lack of Tourists - Capitol fence, armed military, Humvees - destroying local economy. Did

this effect you or anyone you know?

4. Did armed military on your streets irritate you? Frighten? Cause your job or company to lose

business?

5. The roads being closed, normal commerce and traffic being effect, did this have any effect on

you or anyone you know?

6. Question connecting Trump to Jan 6ers Trying to tie the bias that ALL DC residents have

against Trump to the Jan 6ers In logical steps1. Do believe Trump asked his supporters to go

down to the Capitol on Jan 6? (He did do this)2. Do you believe Trump failed to tell all the

protestors to go home when things got rowdy?3. Do you believe this make Trump partly

responsible for the events of January 6?

Then we go into the criminal prosecution of Trump, whether they have heard of news media

coverage on him, they agree he should have been indicted, want to see him serve some prison

time... believe he has ever said a racist comment, should be allowed to run for president? If you

believe Trump is the horrible racist, criminal, etc. and you believe he is responsible for January

6, how can you judge one of his so to speak co-defendants fairly? You seem to already have your

mind made up!1. A part of a political org, volunteered for one, donated to one? Including

lobbyist, politicians, close personal relationships

2. Are January 6ers racist, antisemitic?

       Government Objection




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          The United States objects to all of the proposed questions in Section II because they are

argumentative and in some cases inject disputed or unproven facts into the voir dire process. See,

for example, what follows question 1 asserting that hundreds of businesses in the heart of

Washington, D.C. remained boarded up for months because of the events of January 6, 2021; see

also the statement contained in question 6 confronting any prospective jurors holding certain

beliefs with an argument from the questioner that “you seem to already have your mind made up!”

Insofar as the defense seeks to uncover potential bias among members of the venire, the United

States submits that other proposed questions adequately serve this purpose.

III.

                               EMPLOYMENT AND EDUCATION

1. What is your work status? (Check all that apply.)

       Employed full time                             ______
       Employed part time                             ______
       Full- or part-time volunteer                   ______
       Unemployed                                     ______
       Full- or part-time student                     ______
       Retired                                        ______
       Unable to work due to disability               ______
       Other (please specify)                         ______

2. If you currently work, please list your current occupation and employer.
   ___________________________________________________________________________
   ___________________________________________________________________________


3. Have you or a close friend or family member ever been employed at the United States Capitol
   in any capacity?
   Yes ____ No ____

4. Have you or a close friend or family member ever been employed by the Federal Government?
   Yes ____ No ____

5. Have you or a close friend or family member ever served in the armed forces?
   Yes ____ No ____


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6. If you have a spouse or significant other, please list their current occupation and employer.
   ___________________________________________________________________________
   ___________________________________________________________________________

7. Do you have strong feelings about firearms or the laws concerning firearms that would make
   it difficult to be a fair and impartial juror in this case? Yes ____ No ____

Government Objection: The United States objects to the extent that the preceding questions are
already covered in proposed voir dire.

8. Do you or anyone in your family possess firearms? Yes ____ No ____

9. Someone in this case was previously arrested while unlawfully possessing a magazine for a
   firearm in Washington, D.C. Would that affect your ability to be a fair and impartial juror in
   this case? Yes ____ No ____

10. Would you be able to separate the fact that they brought a magazine for a firearm into
    Washington, D.C. from the facts in this case? Yes ____ No ___

Government Objection: Questions 8 through 10 in this section concern firearms. The United States
is not aware of any evidence in this case concerning firearms or unlawful possession of a magazine
for a firearm. These questions do not appear to have any relevance to this case.

                   ORGANIZATIONAL AFFILIATIONS AND ACTIVITIES

11. Have you or a close friend or family member in the last five (5) years attended a rally, protest,
    demonstration, or march of any type? Yes ____ No ____

12. If so, what was the cause? Where and when did it take place? Was any violence, destruction
    of property or disorderly conduct take place during the event?

Government Objection: Questions 11 and 12 appear somewhat intrusive and do not have any direct
relevance to the facts of this case. The United States has taken the position that the First
Amendment does not provide a defense in this case; insofar as these questions may suggest
otherwise, the United States objects. Even if a prospective juror attended a rally, demonstration,
or march, the cause addressed by such activity is irrelevant. See, e.g., Connors v. United States,
158 U.S. 408, 414 (1895) (“We are of the opinion that the court correctly rejected the question put
to the juror Stewart as to his political affiliations. The law assumes that every citizen is equally
interested in the enforcement of the statute enacted to guard the integrity of national elections, and
that his political opinions or affiliations will not stand in the way of an honest discharge of his duty
as a juror in cases arising under that statute. So, also, active participation in politics cannot be said,
as matter of law, to imply either unwillingness to enforce the statutes designed to insure honest
elections and due returns of the votes cast, or inability to do justice to those charged with violating


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the provisions of those statutes. Strong political convictions are by no means inconsistent with a
desire to protect the freedom and purity of elections.”); United States v. Ballenger, 640 F.Supp. 3d
34, 38 (D.D.C. 2022) (citing Connors when addressing a poll offered to support a challenge to
venue in the District of Columbia for a January 6 prosecution).


                       PROXIMITY TO EVENTS OF JANUARY 6TH

13. Have you ever been on the Capitol grounds or inside the Capitol building?
    Yes ____ No ____

14. Were you or a close friend or family member living or working on Capitol Hill on January 6,
    2021?
    Yes ____ No ____

15. Were you or a close friend or family member at the Capitol on January 6, 2021?
    Yes ____ No ____

16. Did you have a concern for the safety of yourself or a close friend or family member on
    January 6, 2021, due to your or their proximity to the Capitol?
    Yes ____ No ____

                                    PRIOR JURY SERVICE

17. Have you ever served on a grand jury? Yes ____ No ____

18. Have you ever served on a jury in a trial?

   Yes ____ No ____

       a. For each jury service, please indicate:

       Approx.         Civil or       Verdict
       Year            Criminal       Reached?

       ______          ________       YES    NO

       ______          ________       YES    NO

       ______          ________       YES    NO

19. Have you ever served as a jury foreperson? Yes ____ No ____

20. Was there anything about your jury service that left you disappointed or dissatisfied with the
    court or criminal justice system? Yes ____ No ____ Not applicable ____



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21. Was there anything about your jury service that would affect your ability to be a fair and
    impartial juror in this case? Yes ____ No ____

22. Have you or a close friend or family member previously been called for jury service for a trial
    related to the events of January 6th? Yes ____ No ____

Government Objection: The United States objects insofar as the questions are duplicative and
adequately addressed in other proposed questions.

                                     MEDIA EXPOSURE

23. What are your primary sources for local and national news? (Check all that apply)

   Blogs/websites                     ____
   Internet                           ____
   News magazines                     ____
   Newspapers (including online)      ____
   Podcasts                           ____
   Radio                              ____
   Social Media                       ____
   TV/cable                           ____
   Word of mouth/conversations        ____
   Other sources (specify)            ____
   Do not follow the news             ____

24. Do you have subscriptions to or regularly read, listen to or watch any of the following media
   outlets?

       a. New York Times                     Yes _____ No ______

       b. The Washington Post                Yes _____ No ______

       c. Los Angeles Times                  Yes _____ No ______

       d. InfoWars                           Yes _____ No ______

       e. CensoredTV                         Yes _____ No ______

       f. Compound Media                     Yes _____ No ______

       g. Empty Wheel (Marcy Wheeler) Yes _____ No ______

       h. Sedition Hunters                   Yes _____ No ______



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       i. Joe Rogan                            Yes _____ No ______

       j. MSNBC                                Yes _____ No ______

       k. Fox News                             Yes _____ No ______

       l. NBC                                  Yes _____ No ______

       m. CNN                                  Yes _____ No ______

       n. NPR                          Yes _____ No ______
          (National Public Radio-WETA)

25. List in order the news sources that you read or watch most frequently (e.g., by naming the
    specific newspaper, channel, website, etc.)

       a. ___________________________________

       b. ___________________________________

       c. ___________________________________

26. Please check the sites on which you have accounts or profiles (check all that apply):

   Facebook ____               Reddit          ____           Twitter     ____
   Instagram ____              Rumble          ____           YouTube     ____
   Gab       ____              Signal          ____           WhatsApp    ____
   LinkedIn ____               Snapchat        ____           4Chan/8Chan ____
   MeWe      ____              Telegram        ____
   Parler    ____              TikTok          ____
                               Truth Social    ____
   Periscope ____              Tumblr          ____

27. There is likely to be media coverage of this case. To assure that the jury’s decision in this case
    is not based upon influences outside the courtroom, the Court instructs that you must avoid
    reading about the case in the newspapers or listening to any radio or television reports
    concerning this case including news coverage or communications on the internet or social
    media. You may not discuss or communicate about this case with your family, friends or co-
    workers or anyone else including on the internet or social media. Also, until you begin
    deliberations after the close of all evidence, you may not communicate about this case with
    your fellow jurors. Are you able to follow these instructions?

   Yes ____ No ____




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Government Objection: The likelihood of media coverage for this case is, at best, uncertain. The
United States objects to this specific portion of the question because it may be inaccurate and
alienate or concern members of the jury pool without cause. Otherwise, the United States submits
that this entire question is covered adequately elsewhere in the proposed voir dire.

28. Have you participated in discussions with family members, friends and coworkers about the
    events at the Capitol on January 6, 2021?

   Yes _____ No ______

29. How frequently?

   Often _______ Occasionally ______ Not that often _______

30. Where did the discussions occur? (Check all that apply.)

   Home _______ Workplace _______ Social gatherings _______ Chat rooms _______ Over
   the phone ______ Other ________


31. Did you vote in the last presidential election? (Neither the Court nor the parties will ask you
    to identify for whom you cast your vote if you, in fact, voted.) Yes ____ No ____


32. What are your feelings regarding the last presidential election?
    ___________________________________________________________________________

   ___________________________________________________________________________

33. What are your thoughts about Donald Trump?
    ___________________________________________________________________________

   ___________________________________________________________________________

34. Do you believe voter fraud might have affected the last presidential election to any degree?
    ___________________________________________________________________________


Government Objection: The United States submits that these questions are adequately addressed
in the government’s proposed question number 34. For the same reasons the government objects
to the defendant’s proposed question about demonstrations, marches and rallies, the government
objects to this series of questions about voting, election fraud, and thoughts about the former
president. See Connors, cited above.



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35. Do you believe that people have the right to nonviolently protest the actions of Congress?


Government Objection: The United States objects to the relevance of this question in the context
of the present case. The question is also argumentative insofar as it implies that the First
Amendment provides a defense to the charges in this case.


36. About how many videos have you seen from the events that occurred at the United States
    Capitol on January 6, 2021?

       No videos ____         Some videos ____      A lot of videos ____

37. Did you watch live news coverage of the events at the United States Capitol on January 6,
    2021? Yes ____ No ____

If so, what was your reaction to what you watched? Has your opinion changed or remained the
same about those events since January 2021?


38. Have you watched or read news coverage of the events at the United States Capitol after
    January 6, 2021? Yes ____ No ____
    If “yes,” how much?

       Little news coverage ____     Some news coverage ____       A lot of news coverage ____

39. Do you follow anyone on any social media platform who regularly reports or comments on the
    events of January 6, 2021? Yes ____ No ____

Government Objection: The United States objects because these questions are duplicative and
adequately covered elsewhere.

40. Have you or a close friend or family member been employed or had any association or
    connection with the Congress of the United States or a member of Congress, or the House
    Select Committee to Investigate the January 6th events at the United States Capitol? Yes ____
    No ____

41. Did you attend, view, or listen to any portion of any Congressional hearings related to the
    events that occurred at the United States Capitol on January 6, 2021? Yes ____ No ____

       a. What did you come away with after watching the January 6, 2021, Committee
          Hearings? ____________________________________________________________



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           _____________________________________________________________________

42. Did the fact that businesses were boarded up in preparation for January 6, 2021 affect your
    business, regular shopping or dining ? Yes ____ No ____

      a. If no, did such affect anyone you know or close to, or family? Yes        No
43. Did you view the Capitol fence, and armed military outside of the United States Capitol on or
after January 6, 2021?
       a. If so, what did you come away with after viewing such events after January 6, 2021?
          ____________________________________________________________

44. Did you view any roads being closed, normal commerce and traffic being in effect as a result
associated with January 6, 2021?
       b. If so, what did you come away with after viewing such events after January 6, 2021?
          ____________________________________________________________

43. Do you have such a strong opinion about any aspect of the events that occurred at the United
    States Capitol on January 6, 2021, that would affect your ability to be a fair and impartial
    juror in this case? Yes ____ No ____

Government Objection: The United States submits that these questions duplicate other proposed
questions, and other questions adequately serve the purpose for proposing them.

44. Have you read, seen, or heard anything about Donald Trump’s indictment in Washington, DC?
    Yes ____ No ____

       a. If yes, how do you feel about their stance? ___________________________________


       b. If yes, when did you learn about them? ______________________________

       c. How       would     you    describe   the               Donald       Trump        being
          indicted?______________________________



       d. Do believe Donald Trump asked his supporters to go to the United States Capitol on
          January 6, 2021_____________________________________________



       e. Do believe Donald Trump failed to tell his supporters to leave the United States Capitol
          on January 6, 2021 when the event got rowdy or physical?__________________



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       f. Do believe Donald Trump is responsible for the events that took place at the United
          States Capitol on January 6, 2021?___________________________



       g. Do believe Donald Trump should serve prison time for the events that took place at the
          United States Capitol on January 6, 2021?_______________________

45. Have you read, seen, or heard anything about Donald Trump that would affect your ability to
    be a fair and impartial juror in this case? Yes ____ No ____

Government Objection: The United States objects to the relevance of these questions. See
Connors, cited above. The United States does not object to a question designed to elicit whether
a juror has beliefs about the former president making the juror biased; however, questions about
beliefs concerning another indictment and its consequences and generalized questions about
another person’s responsibility and role in the events on January 6, 2021 are irrelevant and
inappropriate. The former president is not charged or on trial in this case; moreover, jurors will
be instructed not to consider punishment when deciding the facts of this case, and a question that
seeks speculation about a third-party’s possible sentence is inconsistent with the instruction this
Court will ask seated jurors to apply.

46. Can you separate those thoughts, listen to the evidence in this case and make a finding based
    on the rule of law and the evidence presented in this case? Yes ____ No ____


Government Objection: The United States objects because this question is duplicative.



Additional Defense Propose Voir Dire Questions (filed on October 10, 2024)

   1. To reach a verdict on a particular charge, every juror must agree on the verdict. In other
      words, every verdict must be unanimous. In deliberations, you must consider the opinions
      and points of view of you fellow jurors, but you must also follow your own conscience and
      be personally satisfied that the verdict on any charge is the right one. Would you be able
      to express your opinions to other jurors even if they disagree with you?
Government Objection: The United States objects because this question is duplicative with
Question 24.

   2. You are to decide this case based only on the evidence presented in court and not based on
      anything you may have learned about the events of January 6 from outside sources such
      as the news or social media. Can you put aside what you may have already learned about
      the events of January 6 and any opinions you may have already formed about the people
      involved in those events when considering the evidence in this case?


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Government Objection: The United States objects because this question is duplicative with
Question 33.

   3. What social media platforms do you use, how often do you use them, and what do you use
      them for?

   4. What sources do you rely on for your news?
Government Objection: The United States objects because these questions are duplicative with
Defendant’s questions above 23-26.

   5. Without telling us your address, in what neighborhood do you live? (e.g. Capitol Hill, Penn
      Quarter, Georgetown, Adams Morgan, etc.)?
                       A.     How long have you lived there?

                      B.      Are you a native of D.C.? If not, where did you live previously?
Government Objection: The United States objects insofar as the questions are duplicative and
adequately addressed in other proposed questions (see, e.g., 38(a)) or are irrelevant and
inappropriate.

   6. Do you think that, if a person entered the U.S. Capitol on January 6 as part of the group
      of people who stormed the building, that person likely did so because he was trying to stop,
      delay, or interfere with the certification of Electoral College votes for Joseph Biden as
      President?

   7. Do you think that people who participated in the events at the U.S. Capitol on January 6
      are likely guilty of criminal wrongdoing?



Government Objection: The United States objects insofar as the questions are duplicative and
adequately addressed in other proposed questions (see, e.g., 20, 31-34) or are irrelevant and
inappropriate.

   8. If you are selected as a juror in this case, the judge will instruct you to avoid and not seek
      out media coverage about this case or Mr. Lang. The judge will instruct you not to google
      or search for information about this case or Mr. Lang on the internet. Do you have any
      questions or concerns about your ability to follow such instructions?
Government Objection: The United States objects because this question is duplicative with
Question 37.

   9. Do you, any member of your family, or any close friend belong to a group or organization
      that is active in law enforcement or crime prevention?




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   10. For example, are you, any member of your family, or any close friend belong to Fraternal
       Order of Police, Crime Watch, Neighborhood Watch, Crime Stoppers, and online groups
       that monitor and discuss neighborhood crime issues.
Government Objection: The United States objects because these questions are duplicative with
Question 19.

   11. What do you do for a living?
             A.     How long have you been doing that?
             B.     If you are retired, please tell us what you did before you retired.
   12.       Who is your current employer?
             A.     How large is your current employer/company?
             B.     Are you self-employed or own your own business?
                          i.   If   self-employed,    will   your    income      and   livelihood   be

                   affected by serving on a jury for longer than two weeks.

                   C.     Who was your prior employer?

   13. What is your educational background?
              Do you have a high school diploma or GED?
              If you enrolled in college, what is your highest level of completion?
   14. What is your martial status?
       A.     Have you ever been married?
       B.     Do you have any children?

   15.             If you are married, or living with another adult, what does that person do for a
         living?
                   A.     If you have adult children, what do they do?
Government Objection: The United States objects because these questions are duplicative with or
otherwise adequately addressed by Question 38.


   16.             What do you like to do in your spare time?

                   A.     Do you have any interests or hobbies?

   17.             Do you participate in any organizations or advocacy groups?

                   A.     If so, which ones?

   18. Have you ever donated or attended a gathering with a specific political party?

            a. Ever donate to any organization or individual affiliated with January 6th?


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              b. Ever donate to a social media campaign related to January 6?

              c. Ever support an organization or cause associated with January 6th?

   19.         Have you, any member of your family, or any close friend ever attended a political
         demonstration?

   20.          Have you, any member of your family, or any close friend ever attended a
         fundraiser or charitable event?


   21.          Have you, any member of your family, or any close friend ever donated to a specific
         cause such as abortion, or a movement such as feminism?
Government Objection: Questions 16, 17, 19, 20, and 21 appear somewhat intrusive and do not
have any direct relevance to the facts of this case. Question 18 is duplicative or otherwise covered
by Questions 30-33 above. Furthermore, the United States has taken the position that the First
Amendment does not provide a defense in this case; insofar as these questions may suggest
otherwise, the United States objects.

   22. Which of the following print publications, cable and or network programs, or online
       media such as websites, blogs, or social media platforms do you visit, read, or watch? (e.g.,
       New York Times – Wall Street Journal - USA Today - New York Post - New York Daily
       News - Newsday - Huffington Post - Washinton Post - CNN - Fox News - MSNBC -
       Newsmax - MSN - Google - Yahoo - Facebook - or Tik Tok ).

   23.           Do you listen to or watch podcasts?

                        A.    If so, which podcasts do you view?

   24.           Have you every listened to a podcast that was based on January 6 events?

   25.           Have you ever listened to or watched a documentary based on January 6 events?

   26.           Do you listen to talk radio? If so, which programs?


Government Objection: The United States objects because these questions are duplicative with or
otherwise adequately addressed by Question 38(i) and 38(j), as well as Defendant’s questions
above 23-26, 28-30

   27. Have you, a relative, or a close friend ever been the victim of a crime?

         A.      If so, please briefly tell us what happened?


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   28.          Have you, a relative, or a close friend ever been employed by a federal, state, or

                local government?

   29.         Have you, a relative, or a close friend ever been employed by a law enforcement
         agency? For example, the police, FBI, U.S. Attorney's Office, Department of Correction,
         etc.

   30.         Have you, a relative, or close friend ever been employed in the intelligence field?

   31.          Have you, a relative or close friend ever had any education, training, or work
                experience in the legal field, including but not limited to practicing criminal or civil
                law?

   32.        Have you, a relative, or close friend had any experience or interaction with the
              criminal justice system?

   33.          Have you, a relative, or close friend had any experience or interaction with a police
officer or other type of law enforcement agent, which caused you to form an opinion, whether

positive or negative, about law enforcement or our criminal justice system?

Government Objection: The United States objects because these questions are duplicative with or
otherwise adequately addressed by Questions 9-13 and 16-18.

   34. Have you ever served on a jury before?

         A.     If so, please tell us how long ago

         B.     Whether that was in Criminal Court, Civil Court, or
                Grand Jury.

         C.     Without telling us the verdict, please tell us whether the jury
                reached a verdict.
         D.     If so, what was that experience?

         E.     Would that experience prevent you from being a fair and impartial
               Juror in this case?
Government Objection: The United States objects because these questions are duplicative with or
otherwise adequately addressed by Questions 14-15.




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   35. Have you, a relative, or close friend ever attended a march, rally, gathering or
       participated in a form of civil disobedience?
Government Objection: The United States objects because these questions are duplicative with or
otherwise adequately addressed by previous questions. Furthermore, The United States objects to
the relevance of this question in the context of the present case. The question is also argumentative
insofar as it implies that the First Amendment provides a defense to the charges in this case.

   36. Have you, a relative, or a close friend ever been accused or convicted of committing a
       crime?
   37. Do you, a relative, or a close friend have a pending criminal case?


Government Objection: The United States objects because these questions are duplicative with or
otherwise adequately addressed by previous questions.

   38. Do you have any political, moral, intellectual, or religious beliefs or opinions, which might
       prevent you from following the Court's instructions on the law or which might slant your
       approach to this case?
           a. Do you have any political, moral, intellectual, or religious beliefs that would
                interfere with your ability to render a verdict in this criminal case?
           b. Do you have any strong opinions that would interfere with your ability to render a
                verdict in this criminal case?
   39. Do you have a health condition that might interfere with your ability to be here on the
       appointed days and times or otherwise prevent you from serving as a juror?
   40. Do you have any close family with a health condition that might interfere with your ability
       to be here on the appointed days and times or otherwise prevent you from serving as a
       juror?
   41. Without telling us the name, do you take any medication that would prevent you from being
       able to concentrate or pay attention during the proceedings or during the deliberations.
   42. Court proceedings normally end around 5:00 in the afternoon though on rare occasions,
       we might work beyond that. Would your schedule and responsibilities permit you to work
       later if it were absolutely necessary to complete that day's work?
   43. Do you practice a religion that would prevent you from sitting as a juror on any particular
       weekday or weeknight?


Government Objection: The United States objects insofar as the questions are duplicative and
adequately addressed in other proposed questions (see, e.g., 6-8) or are irrelevant and
inappropriate.


   44. Can you give us an assurance that you will be fair and impartial and not base your your
       decision in this case upon a bias or prejudice in favor of or against a person who may
       appear in this trial, on account of that person's race, color, national origin, ancestry,


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       gender, gender identity or expression, religion, religious practice, age, disability, sexual
       orientation, or political views?
   45. Can you promise to guard against allowing stereotypes or attitudes about individuals or
       about groups of people, referred to as an implicit bias, influence your decision?


Government Objection: The United States objects insofar as the questions are duplicative and
adequately addressed in other proposed questions (see, e.g., 26) or are irrelevant and
inappropriate. Furthermore, the United States generally objects to posing questions of potential
jurors as a demand for an “assurance.”


   46. Have you, a relative, or a close friend ever worked for any Company of organization that
       is owned or run by Donald Trump of anyone in his family?
   47. Have you, a relative, or a close friend ever attended a rally of campaign event for Donald
       Trump?
   48. Do you currently follow Donald Trump on any social media site or have you done, so in
       the past?
   49. Have you ever attended a rally or campaign event for any anti-Trump group or
       organization?
   50. Do you currently follow any anti-Trump group or organization on any social media site,
       or have you done so in the past?
   51. Have you ever considered yourself a supporter of or belonged to any of the following: (A)
       the QAnon movement, (B) Proud Boys, (C) Oathkeepers, (D) Three Percenters, (E)
       Boogaloo Boys, (F) Antifa, and (G) Black Lives Matter.
   52. Do you have any strong opinions or firmly held beliefs about what occurred on January 6,
       2021, at the US Capitol?
   53. Do you have any feelings of opinions about how January 6 protestors are being treated in
       the court system?
   54. Were you, a relative, or a close friend financially effected based on January 6, 2024?
   55. Do you have any strong opinions or firmly held beliefs about former President Donald
       Trump, or the fact that many January 6 protestors supported him in his challenges to the
       2020 presidential election?
   56. Would those opinions or beliefs interfere with your ability to be a fair and impartial juror?
   57. Have you read (or listened to audio) of any of the following books, articles or podcasts by
       Ryan Reilly, Roger Parloff or Jordan Fischer? If so, please let us know if what you have
       heard or read affects your ability to be a fair and impartial juror in this case?
   58. Do you believe there were irregularities in the 2020 presidential election?
   59. Do people, such as American citizens, have the right to believe the election was stolen,
       tampered with, or involved irregularities?
   60. Do people have the right to challenge a presidential election that they believe was stolen
       or rigged?
   61. What are your thoughts on people who do believe the 2020 presidential election was stolen
       or rigged?


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   62. Do you have any opinions about people who felt so strongly and sincerely about the 2020
       election that they travelled from all parts of the country to attend a “Stop the Steal” rally?
Government Objection: The United States objects insofar as the questions are duplicative and
adequately addressed in other proposed questions or are irrelevant and inappropriate in the
context of the present case. The questions are also argumentative insofar as it implies that the
First Amendment provides a defense to the charges in this case.


   63. Are you aware of any individual who passed away on January 6, 2021, at the United States
       Capitol?
   64. If so, do you know the name of such person[s]?
                A. If not, are you aware of their gender?
                B. If not, are you aware if the individual was a protestor or officer?
                C. Do you know how many people died as a result of January 6, 2021?
   65. During the course of the trial, you may hear testimony from or about a number of people.
       We will now identify for you the names of people who may testify or about whom you may
       hear testimony. Listen carefully to see if you recognize or know any of the people named.
                        A. [Do you recognize any of these names?] Kevin D. Greeson, Roseanne
                            Boyland, Benjamin Phillips, Ryan Sicknick, Jeffrey Smith, Howard
                            Liebengood, Ashli Babbitt, Paul McKenna, Reggie Tyson, or Micheal
                            Byrd?
                        B. If you heard any of these names, have you watched any videos or read
                            any articles regarding such person in relation to January 6, 2021?
Government Objection: The United States objects insofar as the questions are duplicative and
adequately addressed in other proposed questions or are irrelevant and inappropriate in the
context of the present case.

   66. Have you learned about the events on January 6th surrounding a person’s life from other
       sources, such as podcasts or written publications? If so, which ones, and how often do you
       review them?
   67. Have you seen any vigil in Washington, DC relating to January 6, 2021?
   68. Have you been following the investigation of the events of January 6, 2021, at the United
       States Capitol in the news media or on the internet?
   69. Have you heard about the January 6th Committee?
Government Objection: The United States objects insofar as the questions are duplicative and
adequately addressed in other proposed questions or are irrelevant and inappropriate in the
context of the present case.

   70. Jurors are the sole judges of the facts, but they must follow the Court’s instructions on the
       law. The jury may not choose to follow some instructions but not others, and even if a
       juror dislikes, disagrees, with, or does not understand the reasons for some of the rules, it
       is the jury’s duty to follow those instructions. Will any of you have any difficulty following
       the Court’s legal instructions?


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   71. Can you promise to set aside anything you may have heard or read about this case and
       render your verdict based solely on the evidence presented in this courtroom and the law
       as given to you by the judge?
   72. Can you give us your absolute assurance that you will refrain from discussing this case
       with anyone in any manner and from watching, reading, or listening to any accounts of
       this case during the pendency of the trial?
   73. Can you assure us that you will follow the judge's instructions on the law, including
       instructions on the definition of reasonable doubt and the presumption of innocence?
   74. The United States Constitution provides that a defendant has no burden to introduce any
       evidence or to testify in a criminal case. If Mr. Lang chooses not to testify, or to introduce
       any evidence, can you give us your assurance that you will not hold that against him?
   75. Is there any reason, whether it be a bias or something else, that would prevent you from
       being fair and impartial if you are selected as a juror for this case?


Government Objection: The United States objects insofar as the questions are duplicative and
adequately addressed in other proposed questions or are irrelevant and inappropriate in the
context of the present case. Furthermore, the United States generally objects to posing questions
of potential jurors as a demand for “assurances” or an “absolute assurance.”




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